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                                  No. 22-15961


           UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT

                            DONALD J. TRUMP, et al.,
                                                       Plaintiffs-Appellants,
                                        v.

                        TWITTER, INC. AND JACK DORSEY,
                                                  Defendants-Appellees.


                 On Appeal from the United States District Court
    for the Northern District of California, No. 3:21-cv-08378-JD (Donato, J.)

        APPELLEES TWITTER, INC. AND JACK DORSEY’S
    REPLY IN SUPPORT OF THEIR SUGGESTION OF MOOTNESS


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May 19, 2023
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      There is no dispute that Twitter has reinstated the accounts of Donald Trump,

Linda Cuadros, Wayne Root, and Naomi Wolf and that Twitter has not placed any

warning or disclaimer on any of their Tweets. Plaintiffs have thus received the relief

they sought. Attempting to avoid this simple truth, Plaintiffs try to move the

goalposts, ushering a new set of grievances. Wolf protests that Twitter has yet to

apologize for suspending her account or pledge that it will stop censoring her and

that she has trouble logging into her account. And the other Plaintiffs take issue with

Twitter’s use of algorithms generally as well as its new Community Notes feature.

But again, Twitter has not taken any content-moderation or de-amplification actions

of any sort in regards to the reinstated accounts, and Plaintiffs’ Complaint never

sought relief for anything else. And, regardless, Plaintiffs have not offered any

evidence whatsoever that their novel allegations are the result of government

coercion or collusion, the crux of their state-action theories.1

      Plaintiffs further argue that both the voluntary-cessation and capable-of-

repetition-yet-evading-review exceptions to mootness apply, but both exceptions

rely upon a reasonable probability that Twitter will suspend Plaintiffs’ accounts

again. Because reinstatement was due to a bona fide change in business strategy



1
  As indicated in the recently filed supplemental corporate disclosure statement,
Twitter, Inc. has been merged into X Corp. and no longer exists. For purposes of
this litigation, however, Defendants will continue to refer to the corporate entity as
“Twitter.”

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following Elon Musk’s acquisition of Twitter, any claim that Twitter will reverse

course is purely speculative. Indeed, if the so-called “Twitter Files” demonstrate

anything at all, it is that Musk has swiftly and definitively reoriented Twitter’s

strategic vision, proving yet again that the reinstatement of Plaintiffs’ accounts had

nothing to do with this lawsuit. The Court should accordingly dismiss the First

Amendment claims of Trump, Cuadros, Root, and Wolf.2

                                      ARGUMENT

      A.     Plaintiffs Have Received All of the Relief They Sought

      Donald Trump, Linda Cuadros, Wayne Root, and Naomi Wolf’s First

Amendment claims for injunctive relief are moot because they have already received

all the relief they sought. Plaintiffs sought “[a]n injunction … ordering Twitter to

immediately reinstate the[ir] Twitter accounts.” 3-ER-380. They also sought “[a]n

injunction … ordering Twitter to remove its warning labels and misclassification of

all [their] content … and to desist from any further warnings or classifications.” Id.

But Twitter has since reinstated the accounts of Plaintiffs Trump, Cuadros, Root,

and Wolf. See Sebhatu Decl. ¶¶3, 5, 7, 9; Holtzblatt Decl. Exs. F, G, H, I. And,

since being reinstated, Twitter has affixed no labels to these Plaintiffs’ Tweets and


2
 On May 12, 2023, Musk announced that NBCUniversal executive Linda Yaccarino
will become the new CEO of Twitter, with Musk serving as Executive Chair and
Chief Technology Officer. This will not result in a different content-moderation
strategy for Twitter, a company that will still be owned by Musk and led by a person
chosen by Musk.

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has not taken any new content-moderation enforcement actions against their

accounts. See Sebhatu Decl. ¶¶3, 5, 7, 9.

      B.     Plaintiffs Cannot Rely Upon a Claim for Damages or New Prayers
             of Relief to Preserve Jurisdiction

      Plaintiffs do not dispute any of the foregoing facts, which are sufficient to

establish mootness. Instead, they marshal a new set of unsubstantiated grievances

that lack basis in either the Complaint or in reality.

      Appellant Wolf argues that Twitter “has not pledged to stop censoring Dr.

Wolf” or “apologized for its past actions.” C.A. Dkt. 78 at 5 (“Wolf Opp.”). She

also claims that she “continues to get locked out of her verified Twitter account” and

is “often re-directed” to another account that has “virtually no reach.” Id. As a

threshold matter, Wolf has offered no evidence that any of these alleged problems

are the result of government coercion or collusion, as required by her state-action

theories. But regardless, Twitter reiterates that it has taken no content-moderation

or de-amplification actions against Wolf’s account since reinstatement.

      Moreover, Wolf’s Complaint never requested that Twitter apologize to her,

make any sort of pledge, or remedy any issues with her login process. Instead, Wolf

requested that Twitter reinstate her account and “desist from any further warnings

or classifications.” 3-ER-380. There is no dispute that Twitter has done exactly

that, regardless of what a reason.com article has to say about social media generally.

Contra Wolf Opp. 7. Because Wolf is no longer threatened with “an actual injury

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[that is] traceable to the defendant,” and that is “‘likely to be redressed by a favorable

judicial decision,’” her first Amendment claim is moot. Spencer v. Kemna, 523 U.S.

1, 7 (1998).

      The same is true for the other named Plaintiffs. They argue that their claims

were not limited to reinstatement but also “[being] subjected to censorship by

various means” including the use of “algorithms to suppress or de-emphasize

speakers or messages.” C.A. Dkt. 90 at 12 (“Trump Opp.”). But again, Plaintiffs

fail to establish that any such actions are the result of government coercion or

collusion as is required by their claim. Regardless, Twitter’s sworn declaration

establishes that it has taken no content-moderation actions of any type against these

Plaintiffs either. See Sebhatu Decl. ¶¶3, 5, 7, 9. Moreover, as with Wolf’s claim,

Plaintiffs’ prayer for relief only requested that Twitter “immediately reinstate”

Plaintiffs’ accounts and “remove its warning labels and misclassification” on those

accounts, both of which Plaintiffs do not dispute has happened. 3-ER-380.

      Finally, Plaintiffs’ complaint (Trump. Opp. 13) that Twitter has announced a

“new substitute” for its COVID-19 warning-label policy is likewise irrelevant.

Plaintiffs do not even suggest that Twitter’s new policy has been applied to them

and thus the policy cannot constitute an injury sufficient to preserve jurisdiction.

And, regardless, Plaintiffs’ contention that the policy creates a “distinction without

a difference,” id., is belied by the record. As Twitter explained, its new Community


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Notes features is a grassroots initiative to allow users to collaboratively add context

to potentially misleading Tweets, Holtzblatt Decl. Ex. E, and thus does not simply

“[s]ubstitute[e] one form” of top-down content moderation for another, Trump Opp.

13. And Plaintiffs nowhere explain how the actions of Twitter’s users can transform

Twitter into a state actor.

      Wolf’s argument (Opp. 5) that her claim “remain[s] ripe” because of Rawson

v. Recovery Innovations, Inc., 975 F.3d 742, 748 (9th Cir. 2020), and Missouri v.

Biden, 2023 WL 2578260, at *28-35 (W.D. La. Mar. 20, 2023), makes little sense.

Neither case involved any question of mootness. Rawson involved a claim for

retrospective damages under §1983, not prospective injunctive relief. 975 F.3d at

746. Here, Wolf’s only viable First Amendment claim is for injunctive relief as her

tack-on prayer for damages lacks any legal basis whatsoever. See Egbert v. Boule,

142 S. Ct. 1793, 1807-1809 (2022); Correctional Servs. Corp. v. Malesko, 534 U.S.

61, 71 (2001). Wolf even concedes that she “focused on her claims for declaratory

and prospective relief” given the lack of support for her damages claim, Wolf Opp.

6 n.1, and the other Plaintiffs do not even try to argue that their claims for damages

preserve jurisdiction.

      Meanwhile, Missouri featured broad allegations of a scheme of continuing

“suppression of certain ideas and viewpoints on social-media platforms.” 2023 WL

2578260, at *1. Indeed, the Court underscored that the plaintiffs in the case


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“allege[d] that they have suffered past and ongoing censorship.” Id. at *18-19

(emphasis in original). Plaintiffs, by contrast, complained about specific, discrete

actions: that Twitter had placed labels on their Tweets and then suspended their

accounts.   Now these Plaintiffs’ accounts have been reinstated, without any

remaining content-moderation restrictions, and thus there is no live controversy.

Moreover, Missouri (a case brought against the government, not against a company)

did not involve any change of leadership or business strategy. See id. at *1. Indeed,

there was no discussion of mootness whatsoever.

      C.     The Voluntary-Cessation Exception Does Not Apply

      Plaintiffs also argue that the voluntary-cessation exception to mootness

applies and preserves jurisdiction. But for that exception to apply, the defendant’s

cessation of the challenged conduct “must have arisen because of the litigation.”

Public Utils. Comm’n State of Cal. v. FERC, 100 F.3d 1451, 1460 (9th Cir. 1996).

When the defendant’s cessation is “motivated by economic/business considerations,

[and] not this litigation,” the voluntary-cessation exception is inapplicable. Id.

Economic considerations can provide an independent justification for the

defendant’s behavior and an independent obstacle to reversion—much the same as

cases in which “a governmental body change[s] the law,” Wolf Opp. 8.

      Plaintiffs’ accounts were reinstated only after Mr. Musk acquired Twitter and

swiftly changed the strategic vision and trajectory of Twitter. Among other things,



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Musk elected to “no longer enforc[e] the COVID-19 misleading information policy”

and announced a new general amnesty policy, pursuant to which several Plaintiffs’

accounts were reinstated. Holtzblatt Decl. Exs. C, D. The district court accordingly

recognized that these “changes happened only after a new owner acquired Twitter

and publicly announced new policies for users and content.” SER191. In fact, Wolf

herself recognizes that Twitter switched course only “because of a billionaire’s

purchase.” Wolf Opp. 6. Because Twitter’s reinstatement of Plaintiffs’ accounts

was motivated by “economic/business considerations,” the voluntary-cessation

doctrine does not apply. See FERC, 100 F.3d at 1460.

      Plaintiffs’ suggestion that Twitter “has submitted no evidence” to carry its

burden on voluntary cessation is puzzling to say the least. Twitter submitted a sworn

declaration from a company official testifying that the accounts of Cuadros, Root,

and Wolf were “reinstated pursuant to the amnesty program announced by Elon

Musk on November 24, 2022,” and that Trump’s account was “reinstated pursuant

to a ‘yes’ majority vote on a poll that Elon Musk posted on Twitter.” Sebhatu Decl.

¶¶3, 5, 7, 9. Plaintiffs nitpick that that the declarations do not specify that their

accounts were reinstated only pursuant to those measures, Trump Opp. 11, but that

is the clear import of the declaration, which lists no other causal factors. Plaintiffs

alternatively argue that Twitter should have presented a declaration from Musk




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himself, Trump Opp. 10, but provide no explanation for why the evidence Twitter

submitted, including a sworn declaration from a company official, does not suffice.

      Plaintiffs also go into an extended discussion of the so-called “Twitter Files,”

which were made public after Musk acquired Twitter and allegedly demonstrate that

Twitter’s suspension of Plaintiffs’ accounts was informed by meetings with the

government. Twitter objects to the admissibility of these materials through judicial

notice, for reasons explained in its forthcoming opposition to Plaintiffs’ motion for

judicial notice. But regardless, the materials make no difference. The voluntary-

cessation doctrine addresses the defendant’s motivations for ceasing the allegedly

wrongful conduct, not their motivations for engaging in it in the first place. Thus,

for mootness, the relevant question is not why Plaintiffs were suspended, but rather

why they were reinstated. The entire goal of the “Twitter Files” is to bring to light

decisions made by past management with which current management disagrees. If

anything, the evidence simply confirms that Twitter reinstated Plaintiffs’ accounts

because of a genuine change in strategic vision and not because of anything to do

with this lawsuit.

      Plaintiffs’ own authorities highlight the contrast between this case and those

in which the exception applies. In Trinity Lutheran Church of Columbia, Inc. v.

Comer, the Governor of Missouri instructed officials “to begin allowing religious

organizations to compete for and receive Department grants on the same terms as


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secular organizations” in response to the very litigation at issue. 582 U.S. 449, 457

n.1 (2017). Because even the State agreed there was “‘no clearly effective barrier’”

preventing restatement of the old policy, the exception did not apply. Id. Here, it

was Twitter’s genuine change of business strategy that motivated reinstatement of

Plaintiffs’ accounts and that same strategic plan stands as an independent obstacle

to any further suspension. See Clementine Co. v. Adams, 2022 WL 4096162, at *3

(S.D.N.Y. Sept. 7, 2022) (rejecting voluntary-cessation argument because a “change

in administration” made the discontinued government policy unlikely to recur),

appeal pending, No. 22-2599 (2d Cir.).

      Likewise, in Knox v. Service Employees International Union, the defendant

union sent a full refund to all class members of certain challenged fees after the

Supreme Court granted certiorari. 567 U.S. 298, 307 (2012). The Court found the

voluntary-cessation exception applied to “[s]uch postcertiorari maneuvers designed

to insulate a decision from review” where it was “not clear why the union would

necessarily refrain from collecting similar fees in the future.” Id. Moreover, there

remained “a live controversy as to the adequacy of the [union’s] refund notice.” Id.

None of those factors are present here and, unlike here, there was not a change in the

union’s leadership that explained the change in strategy. See id.

      Rosemere Neighborhood Ass’n v. EPA, simply reiterated that the party

seeking to refute the voluntary-cessation exception “must demonstrate why


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repetition of the wrongful conduct is highly unlikely.” 581 F.3d 1169, 1173-1174

(9th Cir. 2009). In that case, the EPA made no such effort to satisfy this standard,

simply claiming that the plaintiff had not offered any admissible evidence that it was

likely to repeat its conduct. Id. So too in Wall v. Wade, where the Court relied

exclusively upon “defendants’ near total failure to provide the Court with

information regarding the change” in conduct to apply the exception. 741 F.3d 492,

498 (4th Cir. 2014). Here, of course, Twitter has submitted evidence establishing

why the complained-of conduct is unlikely to reoccur.

      Finally, in Porter v. Clarke, the Fourth Circuit invoked the voluntary-

cessation doctrine because of a “requirement that the Corrections Department review

the policy governing Plaintiffs’ conditions of confinement annually and rewrite that

policy no later than three years after the current policy’s effective date.” 852 F.3d

358, 365 (4th Cir. 2017). In light of that schedule, the Court found that it was “more

than a ‘mere possibility’ that Defendants will alter Plaintiffs’ current conditions of

confinement.” Id. Here, there is no requirement that Twitter revisit or change the

status of Plaintiffs’ accounts and so that case is not instructive.

      D.     The Capable-of-Repetition-Yet-Evading-Review Exception Does
             Not Apply

      Finally, Plaintiffs argue that their claim is capable of repetition yet evading

review and therefore is not moot. Again, for that exception to apply, among other

things, there must be “‘a reasonable expectation that the same complaining party

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will be subject to the same action again.’” Hamamoto v. Ige, 881 F.3d 719, 722 (9th

Cir. 2018) (per curiam). Yet, there is simply no evidence that the challenged conduct

will reoccur: The amnesty that led to Plaintiffs’ reinstatement plainly reflects a new

policy by new ownership and management. Holtzblatt Decl. Ex. D.

      Plaintiffs’ baseless assertions that if “circumstances change, Twitter could

bring the policy back,” Wolf Opp. 6, and that there is “heightened risk that Twitter’s

challenged practices will be repeated” during election season, Trump Opp. 15, are

entirely speculative and insufficient to preserve a live controversy. See Murphy v.

Hunt, 455 U.S. 478, 482 (1982) (per curiam) (“a mere physical or theoretical

possibility” of recurrence is insufficient, otherwise “virtually any matter of short

duration would be reviewable”). Likewise, Plaintiffs may “‘credibly claim[]’ that

[they] plan[] to publish information … that is critical of the government,” Wolf Opp.

8, but there is no evidence whatsoever that their accounts would be suspended or

censored for doing so.

      Even if Plaintiffs could establish a likelihood of future suspension—which

they cannot—this exception applies only when a controversy is “too short to be fully

litigated prior to cessation or expiration.” Protectmarriage.com-Yes on 8 v. Bowen,

752 F.3d 827, 836 (9th Cir. 2014). The case thus must be of “inherently limited

duration.” Id. (emphasis in original). Plaintiffs cannot establish that here. Each

Plaintiff’s account was suspended for at least 18 months (Sebhatu Decl. ¶¶2-9) and


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Mr. Trump waited nearly six months before he even filed suit (Sebhatu Decl. ¶2;

Dist. Dkt. 1). Moreover, although Plaintiffs filed for a preliminary injunction, they

have taken no steps to expedite the litigation and, instead, have repeatedly sought

extensions of time. See, e.g., C.A. Dkts. 6, 43, 69, 71; Dist. Dkt. 47. And there is

no reason to believe that if any Plaintiff’s account is ever suspended again, the length

of that suspension would be of such limited duration that it would frustrate judicial

review.

      That makes this case a far cry from FEC v. Wisconsin Right to Life, Inc., which

addressed a campaign advertisement blackout period that was guaranteed to reoccur

every two years by law for a short duration of time. 551 U.S. 449, 462 (2007). It is

for this reason that, as Wolf herself recognizes, the exception is “often applied in …

election-related cases.” Wolf Opp. 7. This is not such a case.

                                   CONCLUSION

      The Court should dismiss the First Amendment claims of Plaintiffs Trump,

Cuadros, Root, and Wolf as moot.




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                                             Respectfully submitted,

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                 Form 8. Certificate of Compliance for Briefs


9th Cir. Case Number: 22-15961

      I am the attorney for Defendants X Corp. (“Twitter”) and Jack Dorsey.

      This brief contains 2,799 words, excluding the items exempted by FRAP

32(f). The brief’s type size and typeface comply with FRAP 32(a)(5) and (6).

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Rule 27-1(1)(d) and Federal Rule of Appellate Procedure 32-3(2).



Signature s/ Ari Holtzblatt                    Date May 19, 2023




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 19th day of May, 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals for the

Ninth Circuit using the appellate CM/ECF system. Counsel for all parties to the case

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                                               s/ Ari Holtzblatt
                                               Ari Holtzblatt




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